                IT IS THE RESPONSIBILITY OF COUNSEL
                      TO READ THE ENTIRE ORDER
                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

Donna Poplar,

     Plaintiff(s),
                                            Case No: 21-12568
v.                                          Honorable Victoria A. Roberts

Genesee County Road Commission,

     Defendant(s).
________________________________/

                 RULE 16 SCHEDULING ORDER (PHASE I)

               PLEASE DOCKET IMMEDIATELY;
       NO FURTHER NOTICE OF THESE DATES WILL BE SENT

1.   Exchange of Initial Disclosures under FRCP 26(a)(1):      Done           .

2.   Deadline to Amend: 6/23/2022                                             .

3.   Deadline for identification of all fact witnesses: 4/1/2022              .

4.   Expert disclosures: Plaintiff: 5/25/2022; Defendant 5/31/2022                .

4.   Plaintiff: Reports pursuant to FRCP 26(a)(2)(B) or Disclosures pursuant to
     FRCP 26(a)(2)(C) by experts are due: Reserved until after settlement
     conference                                                                .

5.   Defendant: Reports pursuant to FRCP 26(a)(2)(B) or Disclosures pursuant to
     FRCP 26(a)(2)(C) by Defendant experts are due: Reserved until after
     settlement conference                                                  .


                                        1
6.    Rebuttal reports are due: Reserved until after settlement conference          .

7.    Discovery Motions must be filed by: 7/22/2022                             .
      PLEASE NOTE: Before moving for an order relating to discovery, the
      movant must first confer with opposing counsel and then file a request for a
      conference with the Court, stating that a conference was held with opposing
      counsel, and outlining the nature of the unresolved dispute. (F.R.C.P. 16
      (b)(3)(B)(v)). Sanctions may be imposed against any party who
      unreasonably refuses to resolve a discovery dispute.

8.    Deadline for completing fact discovery: 7/22/2022                                 .

9.    Settlement Conference date and time: 8/4/2022 at 10:00am                          .

      Is Settlement Conference referred to Magistrate Judge?           Yes     X No

10.   Date to submit Confidential Settlement Conference Summary: 7/28/2022 .

       PLEASE NOTE: The parties are required to discuss settlement and exchange
numbers before submitting the Confidential Settlement Summary. Failure of any
party to engage in this pre-settlement conference process may result in the
imposition of sanctions.

       At the Settlement Conference, parties (and insurance company
representatives) must appear and must have full settlement authority. Such persons
and entities are ordered to prepare for and participate in the Settlement Conference
in objective good faith.

        For the Defendant, the representative must have final authority, in the
representative's own discretion, to pay a settlement amount up to Plaintiff's last
demand. If this representative is an insurance company, the representative must
have final authority to commit the company to pay, in the representative's own
discretion, an amount up to the Plaintiff's last demand if within policy limits, or if
not within policy limits, the limits of the policy, whichever is lower.

       For a Plaintiff, such representative must have final authority, in the
representative's own discretion, to authorize dismissal of the case with prejudice, or
to accept a settlement amount down to Defendant's last offer, whichever is higher.
                                           2
    SANCTIONS WILL BE IMPOSED IF THE PARTY WITH FULL
SETTLEMENT AUTHORITY FAILS TO APPEAR.

      In preparation for the Settlement Conference, each side must provide the

Court with the following information. Please deliver one copy directly to

chambers. Do not electronically file; do not serve opposing counsel. You must

type the question and then your answer.

                                 CONFIDENTIAL
                        PRE-SETTLEMENT SUMMARY
                         (to be submitted only to the Court)

1.    Name of the case, including docket number (Pre-Settlement Summary must

      be prepared in pleading format, double spaced and include page numbers):

2.    Name of party submitting this form:

3.    Name, address, phone (including cell phone), e-mail and fax number of

      submitting party/attorney:

4.    Name of client who will attend the Settlement Conference, including title:

5.    Listing of the pleading demands for damages, declaratory judgments and

      language for any requested injunction:

6.    For the Plaintiff, how you intend to prove damages:

7.    For the Defendant, how you intend to meet Plaintiff’s claim of damages:

8.    Circle one of the following as to the status of discovery: (i) little or none; (ii)


                                           3
      moderate amount, but incomplete; or (iii) essentially complete or complete.

9.    Identify discovery/information essential to forming a realistic settlement

      position (this is not to be a listing of what you will present at trial, but what

      you need to discuss settlement):

10.   List the primary disputed factual issues:

11.   Is there a key factual issue where a non-binding early neutral evaluation

      might significantly advance settlement prospects? What is it?

12.   List the primary disputed legal issues and what your burden of proof is.

      Discuss any difficulties you foresee in meeting your burden of proof.

13.   Is there a key legal issue that, if resolved, could significantly advance

      settlement prospects? E.g., stipulated cross-motions for partial summary

      judgment, or a Markman ruling in a patent case.

14.   Chronological summary of settlement offers and responses (use separate

      sheet if necessary):

15.   Honest evaluation, Plaintiff, of what you will settle for and, Defendant, what

      you will pay. The parties are urged to state serious evaluations. If it appears

      from the figures provided that settlement would be futile, the Court WILL

      CANCEL the Settlement Conference and simply provide dates through trial.

      An exercise in futility, for example, would be one in which the Plaintiff



                                           4
      states he/she will settle for $300,000, and the Defendant will only pay

      $10,000. Remember, the figures you provide are for the Court only, and not

      opposing counsel.

16.   Brief description of non-monetary interests and objectives of submitting

      party:

17.   Description of likely or possible ongoing or future relationships between the

      parties:

18.   Brief description of sensitive topics:

19.   Does any party representative likely to attend the settlement conference have

      an extreme dislike for any other person likely to attend on behalf of the other

      party? Who? Why?

20.   List the two or three strongest points in your case:

21.   List the two or three weakest points in your case:

22.   How would you present this case if you were on the opposing side? (it is

      exceedingly important that you present this section objectively. Do Not

      resort to becoming advocate, again, on behalf of your client.)

23.   Litigation expenses to date, and your estimate of costs/attorney fees if this

      matter goes to trial:

24.   A statement acknowledging that the parties discussed settlement as part of



                                          5
      their preparation of this Confidential Pre-Settlement Summary.

25.   On the day of the conference, both sides should be prepared to present an

      oral summary of the case.

PLEASE NOTE THE FOLLOWING:

1.    The parties may not stipulate to extend any dates if it impacts the

      Settlement Conference date set by the Court.

2.    Briefing Schedule: Unless specifically addressed in this Order, the local

      court rules apply for filing responses and replies to motions.

3.    All briefs shall comply strictly with LR 7.1 (Statement of Issues, Statement

      of Controlling/Most Appropriate Authority), and, in addition, must contain

      a Table of Contents, an Index of Authorities and an Index of Exhibits. The

      Exhibits must be tabbed. Unpublished cases should be attached. Counsel

      are to highlight relevant portions of exhibits to which the Court’s

      attention should be directed. Furthermore, the format requirements as set

      forth in LR 5.1 must be strictly adhered to. A courtesy copy of all motions

      and briefs must be submitted directly to Judge Roberts’ chambers and must

      contain the file stamp header. Failure to comply with this paragraph may

      result in rejection of your brief.

4.    Motion hearings: Pursuant to L.R. 7.1(e)(2), the Court will decide motions


                                           6
       on the briefs filed, UNLESS the Court issues a Notice of Motion Hearing.

5.     Counsel are advised to bring their calendars to the Settlement Conference.

       If settlement is not reached, the Court will hold a Scheduling Conference

       and set dates beginning with the deadline to file dispositive motions, through

       trial.

6.     No dispositive motions are allowed prior to the conclusion of the Settlement

       Conference without permission of the Court.

THE ABOVE CONSTITUTES AN ORDER OF THIS COURT.



                                               S/ Victoria A. Roberts
                                              Honorable Victoria A. Roberts
                                              United States District Court

Dated: 4/2/2022
(Revised 10/2017)




                                          7
